       Case 19-62147-lrc           Doc 8 Filed 08/07/19 Entered 08/07/19 10:48:39                   Desc New
                                     Petition Deficiency Order Page 1 of 1
                    UNITED STATES BANKRUPTCY COURT, Northern District of Georgia
                                          Atlanta Division
                                    1340 United States Courthouse
                                      75 Ted Turner Drive SW
                                         Atlanta, GA 30303
                                       www.ganb.uscourts.gov
In
Re:    Ivy Ty Landry                                        Case No.: 19−62147−lrc
                                                            Chapter: 13
                                                            Judge: Lisa Ritchey Craig

                      ORDER SETTING DEADLINES FOR DEBTOR TO CORRECT
                                  FILING DEFICIENCY(IES)
The Debtor filed a petition under the United States Bankruptcy Code on 8/5/19 . This case contains one or more filing
deficiencies that must be corrected. Deficiencies in the items listed below may include failure to file the document, failure
to sign the document or failure to submit the document on a form that substantially conforms to the Official Bankruptcy
Form. Links to all required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms,
instructions and guidelines are on the court website www.ganb.uscourts.gov.

To be filed by 08/12/19
None Apply

To be Filed by 08/19/19
Certificate of Credit Counseling




To be filed by 09/04/19
None Apply


If, by the dates set forth above, i) the Debtor fails to file the required papers or correct the deficiencies; ii) no
request for an extension of time is pending; or iii) neither the debtor nor any party in interest has requested a
hearing thereon, the Court may dismiss this case without further notice or hearing.

The Clerk will serve this order on Debtor, Debtor's counsel, and Trustee.

SO ORDERED, on August 7, 2019.



                                                               Lisa Ritchey Craig
Form 430b December 2018                                        United States Bankruptcy Judge
